                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,          )
                                    )
                 Plaintiff,         )
                                    )
 v.                                 )                           No. 3:12-CR-101
                                    )
 BALTAZAR CAMACHO,                  )                           (VARLAN / SHIRLEY)
 AURELIUS SIR LAWRENCE ROBINSON, and)
 BRAD BOLTON,                       )
                                    )
                 Defendants.        )


                                MEMORANDUM AND ORDER

                All pretrial motions have been referred to the undersigned pursuant to 28 U.S.C. §

 636(b) for disposition or report and recommendation regarding disposition by the District Judge as

 may be appropriate. This matter came before the undersigned for a competency hearing and status

 conference on May 13, 2013. Assistant United States Attorney Brooklyn Sawyer appeared as

 counsel for the Government. Attorney Mike Whalen represented Defendant Camacho. Attorney

 Andrew S. Roskind represented Defendant Robinson, and Attorney Norman McKellar represented

 Defendant Brad Bolton. Defendant Bolton was the only defendant present.

                The parties stipulated to the twelve (12) page Forensic Report by Forensic

 Psychologist Rebecca E. Barnette, Psy.D. The report was made a sealed exhibit to the hearing.

 Neither the Government nor Defendant Bolton sought to offer any other evidence for the Court to

 consider on the issue of the Defendant’s competency. The Forensic Report concludes that

 Defendant Bolton is not suffering from a mental disease or defect that compromises his ability to

 understand his case or to assist properly in his defense. Based upon the Forensic Report and

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 pursuant to 18 U.S.C. § 4241(d), the Court finds by a preponderance of the evidence that Defendant

 Bolton is able to understand the nature and consequences of the charges and proceedings against him

 and to assist properly in the defense of the charges brought against him in this case. Accordingly,

 the Court finds that the Defendant is COMPETENT to stand trial.

                After the matter of his competency was resolved, the Court addressed some

 scheduling matters. The trial of this case is set for September 10, 2013. Attorney Whalen moved

 for a thirty-day extension of the motion-filing deadline. He stated that he needed two weeks to

 complete his review of the recorded telephone conversations in this case and time following his

 review of discovery to prepare pretrial motions. Attorneys Roskind and McKellar agreed with a

 thirty-day motion deadline. The Government did not oppose the request. The Defendants’ request

 to extend the motion deadline is GRANTED. Any pretrial motions are due on or before June 13,

 2013. The Government’s response deadline is June 27, 2013. The Court scheduled a motion

 hearing and pretrial conference for July 2, 2013, at 9:30 a.m. Additionally, plea negotiations in this

 case must conclude by August 20, 2013. All other dates and deadlines in this case shall remain the

 same at this time.

                Accordingly, it is ORDERED:

                (1) The Court finds that Defendant Bolton is COMPETENT to stand
                trial;

                (2) The Defendants’ joint, oral motion to extend the motion deadline
                is GRANTED. All pretrial motions are due on or before June 13,
                2013;

                (3) Responses to pretrial motions are due on June 27, 2013;

                (4) The parties are to appear before the undersigned for a pretrial
                conference and motion hearing on July 2, 2013, at 9:30 a.m.;


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            (5) The deadline for concluding plea negotiations is August 20, 2013.

            IT IS SO ORDERED.

                                                             ENTER:

                                                               s/ C. Clifford Shirley, Jr.
                                                             United States Magistrate Judge




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